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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE EASTERN DISTRICT OF TEXAS
                                  TYLER DIVISION

  UNITED STATES OF AMERICA                      §
                                                §
                                                §            CASE NO. 6:13CR39(2)
                                                §
  vs.                                           §
                                                §
                                                §
                                                §
  MAURICE DESHUN JONES                          §
                                                §

                           REPORT AND RECOMMENDATION
                        OF UNITED STATES MAGISTRATE JUDGE

        On August 19, 2014, United States District Judge Michael H. Schneider referred the

 above-styled criminal matter to the undersigned to address Defendant’s Motion to Determine

 Admissibility of Statement (docket no. 118) and Defendant’s Motion for a Hearing to Determine

 if a Bruton Issue Exists (docket no. 119). The Court granted the request for a hearing on August

 20, 2014 and conducted a hearing on Defendant’s motions on August 22, 2014.          The Court

 recommends that Defendant’s Motion to Determine Admissibility of Statement, construed as a

 motion to suppress, be DENIED. Based upon the representations made at the hearing, there is

 no Bruton issue before the Court.

                                     PROCEDURAL HISTORY

        On April 24, 2013, a federal grand jury returned an Indictment charging Defendant with

 three counts of Interference with Commerce by Threats or Violence – Hobbs Act Conspiracy, in

 violation of 18 U.S.C. § 1951(a), one count of Felon in Possession of a Firearm, in violation of

 18 U.S.C. § 922(g)(1) and one count of Aiding and Abetting in violation of 18 U.S.C. § 2. At

 the hearing on August 22, 2014, Defendant stated that the Motion to Determine Admissibility of
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 Statement is, in effect, a motion to suppress statements made by Defendant to police officers on

 January 29, 2013 and May 5, 2013. With regard to the Motion to Determine Whether a Bruton

 Issue Exists, the parties agreed on the record that there currently is not a Bruton issue in this

 case. The Government represented that it does not intend to offer into evidence any non-

 testifying co-defendant statements.

                                DEFENDANT’S STATEMENTS

        Detective Greg Compton of the Jacksonville Police Department testified that he

 interviewed Defendant on January 29, 2013 in an interview room at the police department. The

 interview lasted approximately one-and-a-half hours. Det. Compton made an audio and video

 recording of the interview. Defendant did not object to the recording being made a part of the

 record for purposes of the suppression hearing. Det. Compton testified that Plaintiff sat across

 from him at a table for the interview. No one else entered the room during the interview. Det.

 Compton stated that he read the Miranda warnings to Defendant before asking him any

 questions. At no time did Defendant request a lawyer, ask for a break or indicate that he needed

 food or water.     According to Det. Compton, Defendant spoke voluntarily and without

 apprehension.

        On cross-examination, Det. Compton testified that he previously talked to Defendant in

 November 2012.      Defendant indicated at that time that he would come in to talk to Det.

 Compton, but never did. At the time of his January 29, 2013 interview, Defendant was in

 custody as a result of traffic ticket warrants. Det. Compton stated that he did not know who

 issued the warrants or executed them.

        The Court admitted into evidence the audio and video recording of the interview. The

 recordings are entirely consistent with Det. Compton’s testimony. The recordings reveal that



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 Det. Compton started the interview by stating his name and the date, time and location of the

 interview. He then confirmed Defendant’s name and date of birth. At that point, Det. Compton

 reviewed Defendant’s Miranda rights with him. He specifically stated that Defendant has the

 right to remain silent, that he does not have to make any statement and that any statement he

 does make may be used against him at trial. Next, Det. Compton informed Defendant that he

 has the right to talk to a lawyer and to have that lawyer present during questioning if he wishes,

 and if he cannot afford a lawyer one would be appointed to represent him before any

 questioning. Lastly, he informed Defendant that he could terminate the interview at any time.

 Defendant stated that he understood his rights and that he would waive his right to remain silent

 and proceed with Det. Compton’s questioning.

        Detective James Oden of the Jacksonville Police Department testified that he interviewed

 Defendant on May 5, 2013. Det. Oden also interviewed Defendant in an interview room at the

 police department. Authorities arrested Defendant on the Indictment forming the basis of this

 case on that same date. Det. Oden made both an audio and video recording of the interview.

 Det. Oden explained, however, that the video portion of the recording starts after the audio

 portion because he had to separately start the video recording. Det. Oden testified that F.B.I.

 Special Agent Pat Boland participated in the interview. Det. Oden stated that he read the

 Miranda warnings to Defendant prior to questioning him. In addition to the recording of the

 interview, the Government offered into evidence a copy of an Advice of Rights form signed by

 Defendant, Agent Boland and Det. Oden. Defendant did not object to admission of the recording

 or the consent form for purposes of the suppression hearing and the Court admitted the exhibits

 into evidence.




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        The recording of the interview and the consent form are entirely consistent with Det.

 Oden’s testimony.     The recording of the interview reveals that Agent Boland started the

 recording by stating the date, time and location of the interview. He then confirmed Defendant’s

 name and introduced himself and Det. Oden. Agent Boland advised Defendant that he had a

 federal arrest warrant for Defendant arising out of the Indictment in this case. He told Defendant

 about the serious nature of the charges. Then, Agent Boland stated that because Defendant was

 under arrest, he needed to be advised of his right. Agent Boland proceeded to advise Defendant

 that he has the right to remain silent, that he does not have to make any statement and that any

 statement he does make could be used against him in court. Next, Agent Boland notified

 Defendant that he has the right to talk to a lawyer for advice before questioning, that he can have

 his lawyer present during questioning and that a lawyer would be appointed for him before any

 questioning if he cannot afford one. Finally, Agent Boland advised Defendant that he could stop

 answering questions at any time if he chose to proceed with questioning. Defendant stated that

 he understood these rights, he felt physically well and was not under the influence of anything,

 and that he was willing to talk to Agent Boland and Det. Oden.

        Agent Boland then presented Defendant with a consent form. He asked Defendant to

 read the form and then sign it. The consent form expressly states, “I have read this statement of

 my rights and I understand what my rights are. At this time, I am willing to answer questions

 without a lawyer present.” The rights identified on the form include:

        You have the right to remain silent.
        Anything you say can be used against you in court.
        You have the right to talk to a lawyer for advice before we ask you any questions.
        You have the right to have a lawyer with you during questioning.
        If you cannot afford a lawyer, one will be appointed for you before any
        questioning if you wish.
        If you decide to answer questions now without a lawyer present, you have the
        right to stop answering at any time.


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 The form states that Defendant signed the form at the Jacksonville Police Department on May 5,

 2013 at 10:30 a.m. See Exhibit 3, admitted into evidence at the hearing on August 22, 2014.

                                       APPLICABLE LAW

        “[T]he prosecution may not use statements, whether exculpatory or inculpatory,

 stemming from custodial interrogation of the defendant unless it demonstrates the use of

 procedural safeguards effective to secure the privilege against self-incrimination.” Miranda v.

 Arizona, 384 U.S. 436, 444, 86 S.Ct. 1602, 1612 (1966). A person in custody that is subjected

 to interrogation must “be informed in clear and unequivocal terms that he has the right to remain

 silent,” warned “that anything said can and will be used against the individual in court,” and

 advised that “he has the right to consult with a lawyer and to have the lawyer with him during

 interrogation” and that “if he is indigent a lawyer will be appointed to represent him.” Id. at 474-

 75. These four warnings, referred to as “Miranda rights,” must be given during the custodial

 interrogation of a suspect for his statement to be admissible. Dickerson v. U.S., 530 U.S. 428,

 436, 120 S.Ct. 2326, 2331 (2000). “The inquiry is simply whether the warnings reasonably

 ‘conve[y] to [a suspect] his rights as required by Miranda.’ ” Duckworth v. Eagan, 492 U.S.

 195, 203, 109 S.Ct. 2875 (1989) (quoting California v. Prysock, 453 U.S. 355, 361, 101 S.Ct.

 2806 (1981)).

        “When a defendant challenges the voluntariness of a confession, the government must

 prove its voluntariness by a preponderance of the evidence in order for the confession to be

 admissible as substantive evidence at the defendant’s criminal trial.” United States v. Bell, 367

 F.3d 452, 461 (5th Cir. 2004) (citation and internal quotation marks omitted). “A confession is

 voluntary if, under the totality of the circumstances, the statement is the product of the accused’s

 free and rational choice.” United States v. Broussard, 80 F.3d 1025, 1033 (5th Cir. 1996). A


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 statement may be deemed involuntary if there is coercive police conduct and a link between that

 conduct and the confession. Colorado v. Connelly, 479 U.S. 157, 163-65, 107 S.Ct. 515 (1986).

                                DISCUSSION AND ANALYSIS

        Having heard the testimony presented at the suppression hearing, reviewed the audio and

 video recordings of Defendant’s interviews, and considered the consent form signed by Plaintiff

 during his May 5, 2013 interview, it is clear that Defendant received his Miranda warnings prior

 to questioning and that he waived his rights. Det. Compton fully informed Defendant of his

 rights before questioning Defendant at the January 29, 2013 interview. Defendant waived his

 rights and agreed to talk to Det. Compton. The recording reveals a voluntary statement by

 Defendant. Similarly, Agent Boland fully informed Defendant of his rights before questioning

 Defendant on May 5, 2013. Defendant understood his rights and waived them before Agent

 Boland started questioning him.

        Defendant did not articulate any basis for asserting that his statements were coerced and

 there is no evidence before the Court that Defendant was coerced in any way. The totality of

 circumstances support a conclusion that Defendant was properly apprised of his Miranda rights

 and he provided a knowing and voluntary statement to law enforcement officers on January 29,

 2013 and May 5, 2013. Defendant’s motion to suppress should be denied.

                                     RECOMMENDATION

        In light of the foregoing, it is recommended that Defendant’s motion to suppress (docket

 no. 118) be DENIED.

        In open court at the hearing, the Government and Defendant agreed to serve and file any

 written objections to the findings and recommendations of the magistrate judge within seven

 days after the Report and Recommendation is filed. A party’s failure to file written objections to



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 the findings, conclusions and recommendations contained in this Report within seven days after

 filing shall bar that party from de novo review by the district judge of those findings, conclusions

 and recommendations and, except upon grounds of plain error, from attacking on appeal the

 unobjected-to proposed factual findings and legal conclusions accepted and adopted by the

 district court. Douglass v. United Servs. Auto. Assn., 79 F.3d 1415, 1430 (5th Cir.1996) (en

 banc), superseded by statute on other grounds, 28 U.S.C. § 636(b)(1).



            So ORDERED and SIGNED this 25th day of August, 2014.




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